 Fill in this information to identify the case:
 Debtor name Boyce Hydro, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN                                                                                Check if this is an

 Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number and email address of                    Nature of claim      Indicate if Amount of claim
 complete mailing address, creditor contact                                               (for example,         claim is   If the claim is fully unsecured, fill in only unsecured
 including zip code                                                                       trade debts, bank   contingent, claim amount. If claim is partially secured, fill in total
                                                                                          loans,              unliquidated claim amount and deduction for value of collateral or
                                                                                          professional             , or    setoff to calculate unsecured claim.
                                                                                          services, and         disputed
                                                                                          government                       Total claim, if          Deduction Unsecured claim
                                                                                          contracts)                       partially secured        for value
                                                                                                                                                    of
                                                                                                                                                    collateral
                                                                                                                                                    or setoff
 Carol Clarkson;                 Attn: Elizabeth A. Fegan                                 Pending             Disputed                                                         $0.00
 Dave Clarkson;                  Fegan Scott LLC                                          Litigation
 Pleasant Beach                  150 S Wacker Dr., 24th Floor
 Mobile Home Resort              Chicago, IL 60606
 LLC; and Jennifer               (312) 741-1019
 Rivard                          beth@feganscott.com

                                 Attn: Emily Peacock
                                 Olsman Mueller Wallace & Mackenzie, P.C.
                                 2684 West Eleven Mile Road
                                 Berkley, MI 48072
                                 (248) 591-2300
                                 epeacock@olsmanlaw.com

 Robert Woods and                Attn: Steven D. Liddle                                   Pending             Disputed                                                         $0.00
 Holly Johnson                   Liddle & Dubin, P.C.                                     Litigation
 (class complaint)               975 E. Jefferson Ave.
                                 Detroit, MI 48207
                                 (313) 392-0015
                                 Sliddle@LDClassAction.com
 Byline Bank                     Attn: David A. Hall                                      USDA/SBA            Disputed        $6,127,637.36            $0.00        $6,127,637.36
 P.O. Box 388439                 Barnes & Thornburg LLP                                   Loans
 Chicago, IL                     171 Monroe Avenue N.W.
 60638-8439                      Suite 1000
                                 Grand Rapids, MI 48503-2694
                                 David.Hall@btlaw.com

 Byline Bank                     Attn: David A. Hall                                      PPP Loan                                                                      $98,989.46
 P.O. Box 388439                 Barnes & Thornburg LLP
 Chicago, IL                     171 Monroe Avenue N.W.
 60638-8439                      Suite 1000
                                 Grand Rapids, MI 48503-2694
                                 David.Hall@btlaw.com



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                               page 1

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



                    20-21214-dob                   Doc 1-1           Filed 07/31/20           Entered 07/31/20 21:56:20                          Page 1 of 5
 Debtor    Boyce Hydro, LLC                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number and email address of                    Nature of claim      Indicate if Amount of claim
 complete mailing address, creditor contact                                               (for example,         claim is   If the claim is fully unsecured, fill in only unsecured
 including zip code                                                                       trade debts, bank   contingent, claim amount. If claim is partially secured, fill in total
                                                                                          loans,              unliquidated claim amount and deduction for value of collateral or
                                                                                          professional             , or    setoff to calculate unsecured claim.
                                                                                          services, and         disputed
                                                                                          government                       Total claim, if          Deduction Unsecured claim
                                                                                          contracts)                       partially secured        for value
                                                                                                                                                    of
                                                                                                                                                    collateral
                                                                                                                                                    or setoff
 Clark Hill PLC                  Attn: Doug Kelly                                         Professional                                                                  $68,980.23
 151 S. Old                      (248) 642-9692
 Woodward, Ste 200
 Birmingham, MI
 48009
 Kimberly Borchard;              Attn: Jason J. Thompson                                  Pending             Disputed                                                         $0.00
 Timothy Dana; and               Sommers Schwartz, P.C. One                               Litigation
 Holly Kovacs (class             Towne Square, 17th Floor
 complaint)                      Southfield, MI 48076
                                 (248) 355-0300
                                 jthompson@sommerspc.com

 Elan Financial        Attn: Legal                                                        Credit Card                                                                    $9,000.00
 Services              1255 Corporate Dr.
 PO Box 790408         Irving, TX 75038
 Saint Louis, MO
 63179-0408
 Attorney General ex. Attn: Nathan A. Gambill                                             Pending             Disputed                                                         $0.00
 rel the People of The Michigan Dep. of Attorney General                                  Litigation
 State of Michigan;    P.O. Box 30755
 The Department of     Lansing, MI 48909
 Enviornment, Great (517) 335-7664
 Lakes, and Energy; GambillN@michigan.gov
 and the Department
 of Natural
 Resources
 DAVID HOMRICH,        Attn: Michael Hanna                                                Pending             Disputed                                                         $0.00
 THOMAS                Morgan & Morgan, P.A.                                              Litigation
 LEGLEITER, TRACY 200 Town Center, Suite 1900
 CARRICK, CLIFF        Southfield, MI 48075
 ALCANTARA,            (313) 739-1950
 EDWARD T.             mhanna@forthepeople.com
 LINCOLN, LISA
 AUSTIN dba A          Attn: Lisa Weinstein
 SECOND LOOK           Grant & Eisenhofer, P.A.
 SALON, TESSI          30 N. LaSalle Street,
 ORVIS, individually, Suite 2350
 and on behalf of all Chicago, IL 60602
 others similarly      (312) 214-0000
 situated              lwinstein@gelaw.com

                                 Attn: Robert K. Jenner
                                 Jenner Law, P.C.
                                 1829 Reisterstown Road,
                                 Suite 350
                                 Baltimore, MD 21208
                                 (410) 382-0122
                                 rjenner@jennerlawfirm.com



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                               page 2

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



                    20-21214-dob                   Doc 1-1           Filed 07/31/20           Entered 07/31/20 21:56:20                          Page 2 of 5
 Debtor    Boyce Hydro, LLC                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number and email address of                    Nature of claim      Indicate if Amount of claim
 complete mailing address, creditor contact                                               (for example,         claim is   If the claim is fully unsecured, fill in only unsecured
 including zip code                                                                       trade debts, bank   contingent, claim amount. If claim is partially secured, fill in total
                                                                                          loans,              unliquidated claim amount and deduction for value of collateral or
                                                                                          professional             , or    setoff to calculate unsecured claim.
                                                                                          services, and         disputed
                                                                                          government                       Total claim, if          Deduction Unsecured claim
                                                                                          contracts)                       partially secured        for value
                                                                                                                                                    of
                                                                                                                                                    collateral
                                                                                                                                                    or setoff
 Four Lakes Task                 Attn: Joseph Colaianne                                   Various             Disputed                                                  $37,203.79
 Force                           Clark Hill PLC
 233 E. Larkin St.               212 E. Cesar Chavez Ave
 Suite 2                         Lansing, MI 48906
 Midland, MI 48640
 Gerace                          (989) 496-2440                                           Trade               Disputed                                                $418,152.61
 Construction
 4055 S. Saginaw
 Road
 Midland, MI 48640
 Gomez & Sullivan                Attn: Jerry Gomez                                        Professional                                                                $152,787.66
 Engineers, DPC                  (315) 724-4860
 288 Genessee St.
 Utica, NY 13502
 WHITNEY CABLE,                  Attn: Jonathan Marko                                     Pending             Disputed                                                         $0.00
 TYLER SMITH,                    Marko Law, PLLC                                          Litigation
 NICO ANTHONY                    1300 Broadway Street, 5th Floor
 SMITH, JOHN D                   Detroit, MI 48226
 SURFUS                          (313) 777-7529
 ENTERPRISE INC.,                jon@jmarkolaw.com
 and
 JOHN SURFUS                     Attn: Matthew H. Morgan
 RENTAL ACCOUNT                  Nichols Kaster, PLLP
                                 4600 IDS Center
                                 80 S. Eighth Street
                                 Minneapolis, MN 55402
                                 (612) 256-3200
                                 morgan@nka.com

 IPFS Corporation                Attn: CSC–Lawyers Incorporating                          Insurance                                                                     $25,665.00
 PO Box 32144                    Service
 New York, NY                    601 Abbot Road
 10087-2144                      East Lansing, MI 48823




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                               page 3

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



                    20-21214-dob                   Doc 1-1           Filed 07/31/20           Entered 07/31/20 21:56:20                          Page 3 of 5
 Debtor    Boyce Hydro, LLC                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number and email address of                    Nature of claim      Indicate if Amount of claim
 complete mailing address, creditor contact                                               (for example,         claim is   If the claim is fully unsecured, fill in only unsecured
 including zip code                                                                       trade debts, bank   contingent, claim amount. If claim is partially secured, fill in total
                                                                                          loans,              unliquidated claim amount and deduction for value of collateral or
                                                                                          professional             , or    setoff to calculate unsecured claim.
                                                                                          services, and         disputed
                                                                                          government                       Total claim, if          Deduction Unsecured claim
                                                                                          contracts)                       partially secured        for value
                                                                                                                                                    of
                                                                                                                                                    collateral
                                                                                                                                                    or setoff
 GLORIA GROVER;                  Attn: Michael J. Bonvolanta                              Pending             Disputed                                                         $0.00
 RAUL VELASCO;                   Buckfire & Buckfire, P.C                                 Litigation
 MARY MAY;                       29000 Inkster Road, Suite 150
 RICHARD WOLF;                   Southfield, MI 48034
 TINA REINIG; CARL               (248) 569-4646
 SWARTHOUT;                      michael@buckfirelaw.com
 SHANE
 NICKERSON; MARK                 Attn: Robert J. Lantzy
 LICKTEIG; VIVIAN                Buckfire & Buckfire, P.C
 KIPFMILLER;                     29000 Inkster Road, Suite 150
 PATRICK                         Southfield, MI 48034
 WATERMAN; BRIAN                 (248) 569-4646
 PARENT;                         robert@buckfirelaw.com
 LAWRENCE
 DUREK; KARIE
 DINGMAN; JOSEPH
 KRUEGER;
 CLEORIA FRENCH;
 TERRY VISNAW;
 LORI FEINAUER;
 JARED BRUNER;
 and MARQUETTA
 MAXWELL,
 individually and all
 others similarly
 situated
 John Colburn on                 Attn: Joseph G. Sauder                                   Pending             Disputed                                                         $0.00
 behalf of himself               Sauder Schelkopf LLC                                     Litigation
 and all others                  1109 Lancaster Avenue
 similarly situated              Berwyn, PA 19312
                                 (888) 711-9975
                                 jgs@ssttriallawyers.com

                                 Attn: Matthew D. Schelkopf
                                 Sauder Schelkopf LLC
                                 1109 Lancaster Avenue
                                 Berwyn, PA 19312
                                 (888) 711-9975
                                 mds@sstriallawyers.com

 Pat's Gradall                   Attn: Andy Acker                                         Trade                                                                       $103,132.70
 PO Box 1603                     (989) 835-1022
 Midland, MI
 48641-1603




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                               page 4

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



                    20-21214-dob                   Doc 1-1           Filed 07/31/20           Entered 07/31/20 21:56:20                          Page 4 of 5
 Debtor    Boyce Hydro, LLC                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number and email address of                    Nature of claim      Indicate if Amount of claim
 complete mailing address, creditor contact                                               (for example,         claim is   If the claim is fully unsecured, fill in only unsecured
 including zip code                                                                       trade debts, bank   contingent, claim amount. If claim is partially secured, fill in total
                                                                                          loans,              unliquidated claim amount and deduction for value of collateral or
                                                                                          professional             , or    setoff to calculate unsecured claim.
                                                                                          services, and         disputed
                                                                                          government                       Total claim, if          Deduction Unsecured claim
                                                                                          contracts)                       partially secured        for value
                                                                                                                                                    of
                                                                                                                                                    collateral
                                                                                                                                                    or setoff
 Sarah L. Brooks,                Attn: Jason J. Thompson                                  Pending             Disputed                                                         $0.00
 individually and on             Sommers Schwartz, P.C.                                   Litigation
 behalf of others                One Towne Square, 17th Floor
 similarly situated              Southfield, MI 48076
                                 (248) 355-0300
                                 jthompson@sommerspc.com

                                 Attn: Edward A. Wallace
                                 Wexler Wallace, LLP
                                 55 W. Monroe St., Suite 3300
                                 Chicago, IL 60603
                                 (312) 346-2222
                                 eaw@wexlerwallace.com

                                 Attn: Kara A. Elgersma
                                 Wexler Wallace, LLP
                                 55 W. Monroe St., Suite 3300
                                 Chicago, IL 60603
                                 (312) 346-2222
                                 kae@wexlerwallace.com

 State of Michigan               Attn: Nathan A. Gambill                                  Judgment                                                                      $68,000.00
 (EGLE)                          Michigan Dep. of Attorney General
 PO Box 30657                    P.O. Box 30755
 Lansing, MI                     Lansing, MI 48909-8157
 48909-8157                      GambillN@michigan.gov
 Charles Kinzel, on              Attn: Elizabeth C. Thomson                               Pending             Disputed                                                         $0.00
 behalf of himself               Hertz Schram PC                                          Litigation
 and others similarly            I760 S. Telegraph Rd., Ste. 300
 situated                        Bloomfield Hills, MI 48302
                                 (248) 335-5000
                                 lthomson@hertzschram.com

                                 Attn: Patricia A. Stamler
                                 Hertz Schram PC
                                 I760 S. Telegraph Rd., Ste. 300
                                 Bloomfield Hills, MI 48302
                                 (248) 335-5000
                                 pstamler@hertzschram.com

                                 Attn: Matthew J. Turchyn
                                 Hertz Schram PC
                                 I760 S. Telegraph Rd., Ste. 300
                                 Bloomfield Hills, MI 48302
                                 (248) 335-5000
                                 mturchyn@hertzschram.com




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                               page 5

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy



                    20-21214-dob                   Doc 1-1           Filed 07/31/20           Entered 07/31/20 21:56:20                          Page 5 of 5
